                                                   Case
                                                    Case2:08-cv-01174-PMP-GWF
                                                         2:08-cv-01174-PMP-GWF Document
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                                               1   Mark G. Tratos (Bar No. 1086)
                                                   Donald L. Prunty (Bar No. 8230)
                                               2   F. Christopher Austin (Bar No. 6559)
                                                   Ronald D. Green, Jr. (Bar No. 7360)
                                               3
                                                   GREENBERG TRAURIG, LLP
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                                                   Suite 400 North
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                                                   Telephone: (702) 792-3773
                                               6   Facsimile: (702) 792-9002
                                               7
                                                   Counsel for Defendant/Counterplaintiff
                                               8
                                                                                  UNITED STATES DISTRICT COURT
                                               9
                                                                                         DISTRICT OF NEVADA
                                              10
                                                   GREGORY RICKS,                                   Case No. 2:08-cv-01174-PMP-GWF
                                              11
                                                                    Plaintiff
3773 Howard Hughes Parkway, Suite 400 North




                                              12   v.                                               STIPULATED REQUEST FOR AN
      GREENBERG TRAURIG, LLP




                                                                                                    EXTENSION OF TIME TO FILE
        Las Vegas, Nevada 89169




                                              13   BMEzine.COM, LLC,
           (702) 792-9002 (fax)




                                                                                                    PROPOSED JOINT PRETRIAL
              (702) 792-3773




                                              14                                                    ORDER
                                                                    Defendant
                                              15                                                    (SEVENTH REQUEST)

                                              16
                                                   BMEzine.COM, LLC,
                                              17

                                              18                    Counterclaim Plaintiff

                                              19   v.

                                              20   GREGORY RICKS AND GEE WHIZ
                                                   DOMAINS, INC.
                                              21

                                              22                    Counterclaim Defendants.

                                              23

                                              24           The parties request a one week extension of time to file a proposed joint pretrial
                                              25   order which is currently due on October 29, 2010. Good cause exists to extend the time to
                                              26   file the proposed joint pretrial order. The parties have exchanged drafts of the proposed
                                              27   joint pretrial order, however it has become apparent it will take the parties additional time to
                                              28   agree to mutually acceptable language. This extension is also necessary due to counsels’


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                                               1   schedule and the upcoming Nevada Day holiday.

                                               2           If the stipulation is approved, the new deadline to file the proposed joint pretrial order
                                               3   will be November 5, 2010.
                                               4   Dated: October 27, 2010                            Dated: October 27, 2010
                                               5
                                                   GREENBERG TRAURIG, LLP                             WEIDE & MILLER, LTD.
                                               6

                                               7   /s/ Ronald D. Green, Jr.                           /s/ Ryan Gile
                                                   Mark G. Tratos (Bar No. 1086)                      Mark Borghese
                                               8
                                                   Donald L. Prunty (Bar No. 8230)                    Ryan Gile
                                               9   F. Christopher Austin (Bar No. 6559)               Weide & Miller, Ltd.
                                                   Ronald D. Green, Jr. (Bar No. 7360)                7251 W. Lake Mead Blvd., Suite 530
                                              10   3773 Howard Hughes Parkway                         Las Vegas, NV 89128
                                                   Suite 400 North
                                              11   Las Vegas, Nevada 89169                            Counsel for Plaintiff
3773 Howard Hughes Parkway, Suite 400 North




                                              12   Counsel for Defendant
      GREENBERG TRAURIG, LLP

        Las Vegas, Nevada 89169




                                              13
           (702) 792-9002 (fax)
              (702) 792-3773




                                              14
                                                                                              IT IS SO ORDERED:
                                              15

                                              16
                                                                                              _________________________ ______ _
                                              17                                              UNITED STATES DISTRICT COURT JUDGE
                                              18                                                      October 28, 2010
                                                                                              DATED:________________________
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